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        3:21-cv-00573-JAG Document
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        3:21-cv-00573-JAG Document
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        3:21-cv-00573-JAG Document
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        3:21-cv-00573-JAG Document
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